                                 Case 22-972, Document 53, 07/07/2022, 3343352, Page1 of 35

                          UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
                              CIVIL APPEAL PRE-ARGUMENT STATEMENT (FORM C)

       1. SEE NOTICE ON REVERSE                                    2. PLEASE TYPE OR PRINT                     3. STAPLE ALL ADDITIONAL PAGES


 Case Caption:                                                                    District Court or Agency:                  Judge:

 Lee                                                                           SONY                                          Andrew L. Carter, Jr.

 V.                                                                               Date the Order or Judgment Appealed         District Court Docket No.:
                                                                                  from was Entered on the Docket:
                                                                                                                             20-cv-02803-ALC
 Binance                                                                       March 31, 2022
                                                                                  Date the Notice of Appeal was Filed:       Is this a Cross Appeal?

                                                                               April 29, 2022                               O ,es           [ZJNo


 Attorney(s) for         Counsel's Name:                     Address:                   Telephone No.:                     Fax No.:                 E-mail:
 Appellant(s):
                         Jordan A. Goldstein; Selendy Gay Elsberg PLLC; 1290 Sixth Avenue, 17th Floor, New
Z)Plaintiff
                         York, NY 10104; T: (212) 390-9000; jgoldstein@selendygay.com.
0Defendant               Kyle W. Roche; Roche Freedman LLP; 99 Park Ave, 19th Floor, New York, NY 10016; T:
                         (646) 350-0527; kyle@rochefreedman.com.

 Attorney(s) for         Counsel's Name:                     Address:                   Telephone No.:                     Fax No.:                 E-mail:
 Appellee(s):
                         James P. Rouhandeh; Davis Polk & Wardwell LLP; 450 Lexington Avenue, New York,
D     1aintiff
                         NY 10017; T: (212) 450-4000; F: (212) 701-5835; rouhandeh@davispolk.com.
:2Joefendant



 Has Transcript          Approx. Number of             Number of             Has this matter been before this Circuit previously? O         ves     [ZJ No
 Been Prepared?          Transcript                    Exhibits
                         Pages:                        Appended to            IfYes, provide the following:
                                                       Transcript:
 n/a
                         n/a                                                  Case Name:
                                                       n/a
                                                                              2d Cir. Docket No.:                Reporter Citation: (i.e., F.3d or Fed. App.)


    ADDENDUM "A": COUNSEL MUST ATTACH TO Tms FORM: (1) A BRIEF, BUT NOT PERFUNCTORY, DESCRIPTION OF THE
     NATURE OF THE ACTION; (2) THE RESULT BELOW; (3) A COPY OF THE NOTICE OF APPEAL AND A CURRENT COPY OF
    THE LOWER COURT DOCKET SHEET; AND (4) A COPY OF ALL RELEVANT OPINIONS/ORDERS FORMING THE BASIS FOR
            Tms APPEAL, INCLUDING TRANSCRIPTS OF ORDERS ISSUED FROM THE BENCH OR IN CHAMBERS.

    ADDENDUM "B": COUNSEL MUST ATTACH TO Tms FORM A LIST OF THE ISSUES PROPOSED TO BE RAISED ON APPEAL,
            AS WELL AS THE APPLICABLE APPELLATE STANDARD OF REVIEW FOR EACH PROPOSED ISSUE.

                                                                       PART A: JURISDICTION

                      1 . Federal Jurisdiction                                                       2. Appellate Jurisdiction

          U.S. a party               [ZJ Diversity                          [ZJ    Final Decision                D Order Certified by District Judge (i.e.,
                                                                            D
                                                                                                                         Fed. R. Civ. P. 54(b))
    [ZJ                              [ZJ Other (specify):
                                                                                                                 D
           Federal question                                                        Interlocutory Decision
          (U.S. not a party)               28   u.s.c. § 1367(8)                   Appealable As of Right                Other (specify):



                               IMPORTANT. COMPLETE AND SIGN REVERSE SIDE OF THIS FORM.

FORM C (Rev. October 2016)
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                                         PARTB: DISTRICT COURT DISPOSITION                            (Check as many as apply)




                               B
 1. Stage of Proceedings                            2. TY2e of Jud~ent/Order Aeeealed                                                     3. Relief

                                                                     n                                                                                  D Injunctions:
                                                                                                                                                         §
                                                                               Dismissal/other jurisdiction

                                                                                                                   Fl
      Pre-trial                       Default judgment

D
      During trial                    Dismissal/FRCP l 2(b)( 1)       0       Dismissal/merit
                                                                        -
                                                                        ---
      After trial               [Z]   lack of subject matter juris.           Judgment I Decision of the Court              Sought:$                          Prelimin"Y

                                D
                                       Dismissal/FRCP 12(b)(6)
                                      failure to state a claim
                                      Dismissal/28 U.S.C. § 1915(e)(2)
                                                                               Summary judgment
                                                                              Declaratory judgment
                                                                              Jury verdict
                                                                                                                   D
                                                                                                                            Granted:$
                                                                                                                            Denied: $    ====                 Permanent
                                                                                                                                                              Denied



                                                                        --
                                      frivolous complaint                     Judgment NOV
                                D     Dismissal/28 U.S.C. § 1915(e)(2)        Directed verdict
                                      other dismissal                  _      Other (specify):



                                                        PART C: NATURE OF SUIT (Check as many as apply)




                         §
 I. Federal Statutes                                                                      2. Torts                 3. Contracts                 4. Prisoner Petitions

 E3                                                                                                                                            D Civil
                                                                                                                                               --
      Antitrust                                                                                                            Admiralty/                  Rights
                                                                                                                   D Maritime
                              c-oo;~li=                 Fre<dom oflnf-tioo Act
                              Consumer Protection       Immigration                           Maritime                                           Habeas Corpus

      :::::%'.,:;,..
                                                                                                                                               ---
                              Copyright Patent          Labor                            0    Assault /                    Arbitration                Mandamus
      Civil Rights            Tradenrarl<               OSHA                             D    Defamation           D Commercial                       Parole
      Commerce                Election                  Securities                            FELA                                                    Vacate Sentence
      Energy                  Soc. Security         D   Tax                              D    Products Liability
                                                                                                                   §       Employmmt
                                                                                                                         Insurance                    Other
      Commodities             Environmental                                              D    Other (Specify):           Negotiable
      Other (specify):                                                                                                 Instruments
                                                                                                                   D     Other Specify

 5. Other                                                    6. General                                            7. Will appeal raise constitutional issue(s)?
 ~      re Int'! Child Custody Conv.                             Arbitration                                           D Yes               [Z] No


                                                              §
        rfeiture/Penalty                                         Attorney Disqualification
        al Property                                              Class Action                                           Will appeal raise a matter of first
      Treaty (specify):                                          Counsel Fees                                           impression?
      Other (specify): State Blue Sky Laws                       Shareholder Derivative
                                                                 Transfer                                              0      Yes          0    No



 1. Is any matter relative to this appeal still pending below? 0              Yes, specify:                                                     0      No

 2. To your knowledge, is there any case presently pending or about to be brought before this Court or another court or administrative agency
    which:
        (A) Arises from substantially the same case or controversy as this appeal?                    []Yes                 [Z]No

           (B)       Involves an issue that is substantially similar or related to an issue in this appeal?                                         [Z]No

 If yes, state whether        "A,"or         "B,"    both are applicable, and provide in the spaces below the following information on the other action(s):

 Case Name:                                                Docket No.                    Citation:                                  Court or Agency:


 Name of Appellant:


 Date: May 13, 2022                                          Signature of Counsel of Record:     s/ Jordan A Goldstein


                                                                     NOTICE TO COUNSEL
Once you have filed your Notice of Appeal with the District Court or the Tax Court, you have only 14 days in which to complete the following
important steps:
1. Complete this Civil Appeal Pre-Argument Statement (Form C); serve it upon all parties, and file it with the Clerk of the Second Circuit in accordance
with LR 25 .1.
2. File the Court of Appeals Transcript Information/Civil Appeal Form (Form D) with the Clerk of the Second Circuit in accordance with LR 25.1.
3. Pay the$505 docketing fee to the United States District Court or the $500 docketing fee to the United States Tax Court unless you are authorized to
prosecute the appeal without payment.

           PLEASE NOTE: IF YOU DO NOT COMPLY WITH THESE REQUIREMENTS WITIDN 14 DAYS, YOUR APPEAL WILL BE
           DISMISSED. SEE LOCAL RULE 12.1.

FORM C (Rev. December 2016)
       Case 22-972, Document 53, 07/07/2022, 3343352, Page3 of 35




                           Lee v. Binance
                       No. 22-00972 (2d Cir.)

                            FORM C
                          ADDENDUM A

I.    Nature of the Action

      Plaintiffs, individually and on behalf of all others similarly

situated, brought this lawsuit seeking redress for Defendants’

unlawful promotion, offer, and sale of unregistered crypto-

securities, in violation of federal securities law and state Blue Sky

laws. Plaintiffs sought damages and equitable relief.

      Defendants filed a motion to dismiss, and, on March 31, 2022,

the District Court granted that motion. See JD Anderson, et al. v.

Binance, et al., No. 20-cv-2803 (ALC), 2022 WL 976824 (S.D.N.Y.

Mar. 31, 2022). Specifically, the District Court dismissed Plaintiffs’

claims for failure to state a claim upon which relief could be

granted.

II.   Result Below

      As described above, the District Court granted Defendants’

motion to dismiss on March 31, 2022. See JD Anderson, et al. v.

Binance, et al., No. 20-cv-2803 (ALC), 2022 WL 976824 (S.D.N.Y.
         Case 22-972, Document 53, 07/07/2022, 3343352, Page4 of 35




Mar. 31, 2022). The District Court accordingly closed the case and

issued a judgment dismissing Plaintiffs’ complaint on March 31,

2022.

III. Notice of Appeal

        Plaintiffs noticed its appeal to this Court on April 29, 2022. A

copy of the Notice of Appeal is attached as Exhibit A to this

Addendum. A current copy of the District Court’s docket sheet is

attached as Exhibit B to this Addendum.

IV.     Relevant Orders and Opinions

        A copy of the District Court’s March 31, 2022 Order granting

Defendants’ motion to dismiss is attached as Exhibit C to this

Addendum. The District Court’s judgment, entered on March 31,

2022, is attached as Exhibit D to this Addendum.




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           Exhibit A
         case 1:20-cv-02803-ALC
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UNITEDSTATESDIBTRICTCOURT
SOUTHERN DISTRICT OF NEW YORK

 JD ANDERSON, COREY HARDIN, ERIC
 LEE, BRETT MESSIER, DAVID
 MUHAMJv1AD, RANJITH THIAGARAJAN,                 Case No. 1:20-cv-02803-ALC
 CHASEWILLIAMS andTOKENFUNDI                      Honorable Andrew L. Carter, Jr.
 LLC, individually and on behalf of all others
 similarly situated,                              NOTICE OF APPEAL

                       Plaintiffs,

               V.


 BINANCE, CHANGPENG ZHAO, YI HE,
 and ROGER WANG,

                       Defendants.


       Notice is hereby given that JD Anderson, Corey Hardin Eric Lee Brett Messieh, David

Muhammad, Ranjith Thiagarajan, Chase Williams and Token Fund I LLC on behalf of

themselves and all others similarly situated, by and through their undersigned counsel, hereby

appeal to the United States Comt of Appeals for the Second Circuit from the Order Granting

Defendants' Motion to Dismiss (ECF No. 77, the "Order"), signed and entered on March 31 , 2022,

and Judgment (ECF No. 78, the' Judgment"), signed and entered on March 31 , 2022 in the above-

captioned action. This appeal is taken from each and eve1y pa1t of the Order and Judgment and

from the Order and Judgment as a whole.
         case 1:20-cv-02803-ALC
            Case 22-972, DocumentDocument   79 Filed
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                                                           Page7    2 of 3
                                                                 of 35




Dated:   April 29, 2022                     Respectfully submitted,
         NewYork, NY


s/ Kyle W Roche                             s/ Jordan A. Goldstein
 Kyle W. Roche                              Philippe Z. Selendy
 Edward N onnand                            Jordan A. Goldstein
 Velvel (Devin) Freedman                    Oscar Shine
    (pro hac vice)                          Mitchell Nobel
 Alex T. Potter                             SELENDY GAY ELSBERG PLLC
 Richard R. Cipolla                         1290 Sixth Avenue 17th Floor
 ROCHEFREEDMANLLP                           New York, NY 10104
 99 Park Avenue, 19th Floor                 Tel: (212) 390-9000
 New York NY 10016                          pselendy@selendygay.com
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 apotter@rochefreedman.com
 rcipolla@rochefreedman.com

                                            Co-Lead Counsel and Attorneys for
                                            Plaintiffs and the Proposed Class




                                        2
         case 1:20-cv-02803-ALC
            Case 22-972, DocumentDocument   79 Filed
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                                                           Page8    3 of 3
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                                CERTIFICATE OF SERVICE

       I hereby ce1iify that on April 29, 2022, I caused the foregoing Notice of Appeal to be served

via the Electronic Case Filing (ECF) system in the United States District Comi for the Southern

District of New York, on all pa1iies registered for CM/ECF in the above-captioned action.


 Dated: April 29, 2022
        New York, NY

                                            s/ Jordan A. Goldstein
                                            Jordan A. Goldstein
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           Exhibit B
5/12/22, 9:57 AM             Case 22-972, Documenthttps://app
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                                                                U.S. District Court
                                                    Southern District of New York (Foley Square)
                                                   CIVIL DOCKET FOR CASE#: 1:20-cv-02803-ALC

      Lee et al v. Binance et al                                                         Date Filed: 04/03/2020
      Assigned to: Judge Andrew L. Carter, Jr                                            Date Terminated: 03/31/2022
      Cause: 15:77 Securities Fraud                                                      Jury Demand: Plaintiff
                                                                                         Nature of Suit 850 Securities/Commodities
                                                                                         Jurisdiction: Federal Question

      Lead Plaintiff
      JD Anderson                                                       represented by   Jordan Ari Goldstein
                                                                                         Selendy Gay Elsberg PLLC
                                                                                         1290 Avenue of the Americas
                                                                                         New York, NY 10104
                                                                                         212-390-9000
                                                                                         Email: Jgoldstein@selendygay.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Philippe Zuard Selendy
                                                                                         Selendy Gay Elsberg PLLC
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                                                                                         212-390-9002
                                                                                         Email: pselendy@selendygay.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED


      Lead Plaintiff

      Corey Hardin                                                      represented by   Jordan Ari Goldstein
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Philippe Zuard Selendy
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED


      Lead Plaintiff
      Eric Lee                                                          represented by   Jordan Ari Goldstein
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Philippe Zuard Selendy
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED


      Lead Plaintiff

      Brett Messieh                                                     represented by   Jordan Ari Goldstein
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Philippe Zuard Selendy
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED


      Lead Plaintiff



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      David Muhammad                                               represented by   Jordan Ari Goldstein
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Philippe Zuard Selendy
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED


      Lead Plaintiff

      Ranjith Thlagarajan                                          represented by   Jordan Ari Goldstein
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Philippe Zuard Selendy
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED


      Lead Plaintiff

      Token Fund I LLC                                             represented by   Jordan Ari Goldstein
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Philippe Zuard Selendy
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED


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      Eric Lee                                                        represented by   Devin Freedman
      individually and on behalf of all others similarly situated                      Roche Freedman LLP
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                                                                                       Jordan Ari Goldstein
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                                                                                       Phllippe Zuard Selendy
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      Plaintiff




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      Chase Williams                                                  represented by   Devin Freedman
      individually and on behalf of all others similarly situated                      (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Edward John Normand
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Jordan Ari Goldstein
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Kyle William Roche
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Philippe Zuard Selendy
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
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                                                                                       Alex Potter
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Mitchell D. Nobel
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Oscar Shine
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED



      V.
      Defendant

      Binance                                                         represented by   James P. Rouhandeh
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                                                                                       (212)-450-3140
                                                                                       Fax: (212)-701-6140
                                                                                       Email: m.nick.sage@davispolk.com
                                                                                       TERMINATED: 10/22/2021




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      Defendant

      Changpeng Zhao                                                               represented by   James P. Rouhandeh
                                                                                                    (See above for address)
                                                                                                    LEAD ATTORNEY
                                                                                                    ATTORNEY TO BE NOTICED

                                                                                                    Daniel Jacob Schwartz
                                                                                                    (See above for address)
                                                                                                    ATTORNEY TO BE NOTICED

                                                                                                    Maurice Nicholas Sage
                                                                                                    (See above for address)
                                                                                                    TERMINATED: 10/22/2021


      Defendant
      YIHe                                                                         represented by   James P. Rouhandeh
      TERMINATED: 04/06/2021                                                                        (See above for address)
                                                                                                    LEAD ATTORNEY
                                                                                                    ATTORNEY TO BE NOTICED

                                                                                                    Daniel Jacob Schwartz
                                                                                                    (See above for address)
                                                                                                    ATTORNEY TO BE NOTICED

                                                                                                    Maurice Nicholas Sage
                                                                                                    (See above for address)
                                                                                                    TERMINATED: 10/22/2021


      Defendant

      Roger Wang                                                                   represented by   James P. Rouhandeh
      TERMINATED: 04/06/2021                                                                        (See above for address)
                                                                                                    LEAD ATTORNEY
                                                                                                    ATTORNEY TO BE NOTICED

                                                                                                    Daniel Jacob Schwartz
                                                                                                    (See above for address)
                                                                                                    ATTORNEY TO BE NOTICED

                                                                                                    Maurice Nicholas Sage
                                                                                                    (See above for address)
                                                                                                    TERMINATED: 10/22/2021


      Interested PactY.
      Cryplo Assets Opportunity Fund LLC



        #                                                                Docket Text                                                         Date Flied

         1   COMPLAINT against Binance, Yi He, Roger Yang, Changpeng Zhao. (Filing Fee$ 400.00, Receipt Number ANYSDC-                       04/03/2020
             19331072)Document filed by Eric Lee, Chase Williams .. (Roche, Kyle) (Entered: 04/03/2020)

        2    CIVIL COVER SHEET filed . (Attachments: # 1 Rider).(Roche, Kyle) (Entered: 04/03/2020)                                          04/03/2020

         3   FILING ERROR - DEFICIENT PLEADING - SUMMONS REQUEST PDF ERROR - REQUEST FOR ISSUANCE OF SUMMONS as                              04/03/2020
             to Binance, re: 1 Complaint. Document filed by Eric Lee, Chase Williams .. (Roche, Kyle) Modified on 4/6/2020 (pc). (Entered:
             04/03/2020)

        4    FILING ERROR - DEFICIENT PLEADING- SUMMONS REQUEST PDF ERROR - REQUEST FOR ISSUANCE OF SUMMONS as                               04/03/2020
             lo Changpeng Zhao, re: 1 Complaint. Document filed by Eric Lee, Chase Williams .. (Roche, Kyle) Modified on 4/6/2020 (pc).
             (Entered: 04/03/2020)

         5 FILING ERROR - DEFICIENT PLEADING - SUMMONS REQUEST PDF ERROR - REQUEST FOR ISSUANCE OF SUMMONS as                                04/03/2020
             lo Yi He, re: 1 Complaint Document filed by Eric Lee, Chase Williams .. (Roche, Kyle) Modified on 4/6/2020 (pc). (Entered:
             04/03/2020)




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        #                                                                Docket Text                                                                Date Filed

        6    FILING ERROR - DEFICIENT PLEADING - SUMMONS REQUEST PDF ERROR - REQUEST FOR ISSUANCE OF SUMMONS as                                     04/03/2020
             to Roger Wang, re: 1 Complaint. Document filed by Eric Lee, Chase Williams .. (Roche, Kyle) Modified on 4/6/2020 (pc). (Entered:
             04/03/2020)

         7   NOTICE OF APPEARANCE by Philippe Zuard Selendy on behalf of Eric Lee, Chase Williams .. (Selendy, Philippe) (Entered:                  04/03/2020
             04/03/2020)

        8    NOTICE OF APPEARANCE by Jordan Ari Goldstein on behalf of Eric Lee, Chase Williams .. (Goldstein, Jordan) (Entered:                    04/03/2020
             04/03/2020)

        9    NOTICE OF APPEARANCE by Oscar Shine on behalf of Eric Lee, Chase Williams .. (Shine, Oscar) (Entered: 04/03/2020)                      04/03/2020

       10    NOTICE OF APPEARANCE by Mitchell D. Nobel on behalf of Eric Lee, Chase Williams .. (Nobel, Mitchell) (Entered: 04/03/2020)             04/03/2020

       11    NOTICE OF APPEARANCE by Edward John Normand on behalf of Eric Lee, Chase Williams .. (Normand, Edward) (Entered :                      04/04/2020
             04/04/2020)

             . ...NOTICE TO ATTORNEY REGARDING PARTY MODIFICATION. Notice to attorney Kyle William Roche. The party information for                 04/06/2020
             the following party/parties has been modified: Eric Lee, Chase Williams. The information for the party/parties has been modified for
             the following reason/reasons: party text was omitted;. (pc) (Entered: 04/06/2020)

             CASE OPEN! NG INITIAL ASSIGNMENT NOTICE: The above-entitled action is assigned to Judge Andrew L. Carter, Jr. Please                   04/06/2020
             download and review the Individual Practices of the assigned District Judge, located at https://nysd.uscourts.gov~udges/district-
             judges. Attorneys are responsible for providing courtesy copies to judges where their Individual Practices require such. Please
             download and review the ECF Rules and Instructions, located at https://nysd.uscourts .gov/rules/ecf-related-instructions.. (pc)
             (Entered: 04/06/2020)

             Magistrate Judge Gabriel W. Gorenstein is so designated. Pursuant to 28 U.S.C. Section 636(c) and Fed. R. Civ. P. 73(b)(1) parties     04/06/2020
             are notified that they may consent to proceed before a Un~ed States Magistrate Judge. Parties who wish to consent may access the
             necessary form at the following link: https://nysd.uscourts.gov/sites/defaulVfiles/2018-06/AO-3. pdf. (pc) (Entered: 04/06/2020)

             Case Designated ECF. (pc) (Entered: 04/06/2020)                                                                                        04/06/2020

             ...NOTICE TO ATTORNEY REGARDING DEFICIENT REQUEST FOR ISSUANCE OF SUMMONS. Notice to Attorney Kyle William                             04/06/2020
             Roche to RE-FILE Document No. 5 Request for Issuance of Summons, 6 Request for Issuance of Summons, 3 Request for
             Issuance of Summons, 4 Request for Issuance of Summons. The filing is deficient for the following reason(s): the date field on the
             official AO. Summons form was completed by the attorney;. Re-file the document using the event type Request for Issuance of
             Summons found under the event list Service of Process - select the correct filer/filers - and attach the correct summons form PDF.
             (pc) (Entered: 04/06/2020)

       12    REQUEST FOR ISSUANCE OF SUMMONS as to Binance, re: 1 Complaint. Document filed by Eric Lee, Chase Williams .. (Roche,                  04/06/2020
             Kyle) (Entered: 04/06/2020)

       13    REQUEST FOR ISSUANCE OF SUMMONS as to Changpeng Zhao, re: 1 Complaint. Document filed by Eric Lee, Chase Williams ..                   04/06/2020
             (Roche, Kyle) (Entered: 04/06/2020)

       14    REQUEST FOR ISSUANCE OF SUMMONS as to Yi He, re: 1 Complaint. Document filed by Eric Lee, Chase Williams .. (Roche,                    04/06/2020
             Kyle) (Entered: 04/06/2020)

       15    REQUEST FOR ISSUANCE OF SUMMONS as to Roger Wang, re: 1 Complaint Document filed by Eric Lee, Chase Williams ..                        04/06/2020
             (Roche, Kyle) (Entered: 04/06/2020)

       16    ELECTRONIC SUMMONS ISSUED as to Changpeng Zhao.. (pc) (Entered: 04/07/2020)                                                            04/07/2020

       17    ELECTRONIC SUMMONS ISSUED as to Yi He .. (pc) (Entered: 04/07/2020)                                                                    04/07/2020

       18    ELECTRONIC SUMMONS ISSUED as to Binance .. (pc) (Entered: 04/07/2020)                                                                  04/07/2020

             ...NOTICE TO ATTORNEY REGARDING PARTY MODIFICATION. Notice to attorney Kyle William Roche. The party information for                   04/07/2020
             the following party/parties has been modified: Roger Yang. The information for the party/parties has been modified for the following
             reason/reasons : party name contained a typographical error; . (pc) (Entered: 04/07/2020)

       19    ELECTRONIC SUMMONS ISSUED as to Roger Wang .. (pc) (Entered: 04/07/2020)                                                               04/07/2020

       20    NOTICE OF APPEARANCE by Alex Potter on behalf of Eric Lee, Chase Williams .. (Potter, Alex) (Entered: 05/13/2020)                      05/13/2020

       21    MOTION for Devin Freedman to Appear Pro Hae Vice . Filing fee$ 200.00, receipt number ANYSDC-19827623. Motion and                      05/14/2020
             supporting papers to be reviewed by Clerk's Office staff. Document filed by Eric Lee, Chase Williams. (Attachments: # 1 Affidavit of
             Devin Freedman, # 2 Exhib~ A, # 3 Proposed Order).(Freedman, Devin) (Entered: 05/14/2020)

             »>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No. 21 MOTION for Devin Freedman to Appear Pro                              05/14/2020
             Hae Vice . Filing fee$ 200.00, receipt number ANYSDC-19827623 . Motion and supporting papers to be reviewed by Clerk's Office
             staff.. The document has been reviewed and there are no deficiencies. (ad) (Entered: 05/14/2020)


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       22   ORDER FOR ADMISSION PRO HAC VICE granting 21 Motion for Devin Freedman to Appear Pro Hae Vice. (Signed by Judge                        05/18/2020
            Andrew L. Carter, Jr on 5/18/2020) (ama) (Entered: 05/18/2020)

       23   MOTION for Appointment as Lead Plaintiff and Approval of Selection of Co-Lead Counsel. Document filed by Chase Williams, JD            06/08/2020
            Anderson, Corey Hardin, Eric Lee, Brett Messieh, David Muhammad, Ranjith Thiagarajan, Token Fund I LLC. (Attachments : # 1 Text
            of Proposed Order).(Selendy, Philippe) (Entered: 06/08/2020)

       24   MEMORANDUM OF LAW in Support re : 23 MOTION for Appointment as Lead Plaintiff and Approval of Selection of Co-Lead                     06/08/2020
            Counsel . . Document filed by JD Anderson , Corey Hardin , Eric Lee, Brett Messieh, David Muhammad, Ranjith Thiagarajan, Token
            Fund I LLC, Chase Williams .. (Selendy, Philippe) (Entered: 06/08/2020)

       25   DECLARATION of KYLE W. ROCHE in Support re: 23 MOTION for Appointment as Lead Plaintiff and Approval of Selection of Co-               06/08/2020
            Lead Counsel .. Document filed by JD Anderson , Corey Hardin, Eric Lee , Brett Messieh, David Muhammad, Ranjith Thiagarajan,
            Token Fund I LLC, Chase Williams. (Attachments: # 1 Exhibit A - Certification, # 2 Exhibit B - Roche Cyrulnik Freedman Firm
            Resume, # 3 Exhibit C - Press Release, # 4 Exhibit D - Loss Chart).(Selendy, Philippe) (Entered: 06/08/2020)

       26   DECLARATION of JORDAN A. GOLDSTEIN in Support re: 23 MOTION for Appointment as Lead Plaintiff and Approva l of Selection               06/08/2020
            of Co-Lead Counsel .. Document filed by JD Anderson , Corey Hardin, Eric Lee, Brett Messieh, David Muhammad, Ranjith
            Thiagarajan, Token Fund I LLC, Chase Williams. (Attachments: # 1 Exhibit A- Selendy & Gay Firm Resume).(Goldslein, Jordan)
            (Entered: 06/08/2020)

       27   CERTIFICATE OF SERVICE of Motion for Appointment as Lead Plaintiffs and Approval of Selection of Co-Lead Counsel, Proposed             06/10/2020
            Order Appointing Lead Plaintiffs and Approving Selection of Co-Lead Counsel, Memorandum of Law in Support of Motion for
            Appointment as Lead Plaintiffs and Approval of Selection of Roche Cyrulnik Freedman LLP and Selendy & Gay PLLC as Co-Lead
            Counsel, Declaration of Jordan A. Goldstein and accompanying exhibit, and Declaration of Kyle W. Roche and accompanying
            exhibits served on Yi He, Roger Wang, Changpeng Zhao, Binance on June 10, 2020. Service was made by MAIL. Document filed
            by JD Anderson , Corey Hardin, Eric Lee, Brett Messieh, David Muhammad, Ranjith Thiagarajan, Token Fund I LLC, Chase
            Williams .. (Goldstein, Jordan) (Entered: 06/10/2020)

       28   SUMMONS RETURNED EXECUTED Summons and Complaint served. Binance served on 5/5/2020. Document filed by Chase                            06/11/2020
            Williams; Eric Lee .. (Goldslein, Jordan) (Entered: 06/11/2020)

       29   LETTER addressed lo The Clerk of Court from Jordan A. Goldstein dated 6/10/2020 re: LETTER addressed to The Clerk of Court             06/17/2020
            from Jordan A. Goldstein dated 6/10/2020 re: Pursuant to F.R.C.P. 5(b)(2)(D), with regard Defendant Yi He, counsel for Plaintiff,
            serve upon the Clerk of Court the following papers: ( 1) Notice of JD Anderson , Corey Hardin, Eric Lee, Brett Messieh, David
            Muhammad, Ranj ith Thiagarajan, Chase Williams, and Token Fund I LLC's Motion for Appointment as Lead Plaintiff and Approval of
            Selection of Roche Cyrulnik Freedman LLP and Selendy and gay PLLC as Co-Lead Counsel; (2) Proposed Order Appointing Lead
            Plaintiff and Approving Selection of Co-Lead Counsel; (3) Joel Deutsch's Memorandum of Law in Support of His Motion for
            Appointment as Lead Plaintiff and Approval of Selection of Roche Cyrulnik Freedman LLP and Selendy ad Gay PLLC as Co-Lead
            Counsel; (4) Declaration of Jordan A. Goldstein and accompanying exhibi~ and (5) Declaration of Kyle W. Roche and accompanying
            exhibits. Document filed by Alexander Clifford. Document filed by Alexander Clifford. Document filed by Eric Lee, Chase Williams.
            (tro) (Entered: 06/18/2020)

       30   LETTER addressed lo The Clerk of Court from Jordan A. Goldstein dated 6/10/2020 re: LETTER addressed to The Clerk of Court             06/17/2020
            from Jordan A. Goldstein dated 6/10/2020 re: Pursuant lo F.R.C.P. 5(b)(2)(D), with regard Defendant Roger Wang, counsel for
            Plaintiff, serve upon the Clerk of Court the following papers: ( 1) Notice of JD Anderson , Corey Hardin, Eric Lee, Brett Messieh,
            David Muhammad, Ranjith Thiagarajan, Chase Williams, and Token Fund I LLC's Motion for Appointment as Lead Plaintiff and
            Approval of Selection of Roche Cyrulnik Freedman LLP and Selendy and gay PLLC as Co-Lead Counsel; (2) Proposed Order
            Appointing Lead Plaintiff and Approving Selection of Co-Lead Counsel; (3) Joel Deutsch's Memorandum of Law in Support of His
            Motion for Appointment as Lead Plaintiff and Approval of Selection of Roche Cyrulnik Freedman LLP and Selendy ad Gay PLLC as
            Co-Lead Counsel; (4) Declaration of Jordan A. Goldstein and accompanying exhibi~ and (5) Declaration of Kyle W. Roche and
            accompanying exhibits. Document filed by Alexander Clifford. Document filed by Alexander Clifford. Document filed by Eric Lee,
            Chase Williams .. (tro) (Entered: 06/18/2020)

       31   LETTER MOTION for Conference re : Plaintiffs' Anticipated Motion to Join and to File the Proposed Amended Complaint addressed          07/01/2020
            to Judge Andrew L. Carter, Jr. from Jordan A. Goldstein dated July 1, 2020. Document filed by Eric Lee , Chase Williams.
            (Attachments: # 1 Exhibit 1 - Proposed Amended Complaint, # 2 Exhibit 2 - Redline).(Goldstein, Jordan) (Entered: 07/01/2020)

       32   CERTIFICATE OF SERVICE of Letter Motion for Conference regarding Plaintiffs Anticipated Motion lo Join and lo File the Proposed        07/02/2020
            Amended Complaint, Exhibit 1 thereto (Proposed Amended Complaint), and Exhibit 2 thereto (redline) served on Yi He c/o Clerk of
            the Cou~ Roger Wang c/o Clerk of the Court, Changpeng Zhao, and Binance on July 2, 2020. Document filed by Eric Lee, Chase
            Williams .. (Goldstein, Jordan) (Entered: 07/02/2020)

       33   LETTER addressed to The Clerk of the Court from Jordan A. Goldstein dated 7/2/2020 re: Counsel for Plaintiff write this letter         07/08/2020
            pursuant to F.R.C.P. 5(b)(2)(D), with regard lo Defendant Yi He, and serve upon the Clerk of Court the following papers: the Letter
            Motion for Conference regarding Plaintiffs' Anticipated Motion to Join and to File the Proposed Amended Complaint, Exhibit 1
            thereto (Proposed Amended Complaint), and Exhibit 2 thereto (redline). Document filed by Eric Lee, Chase Williams .. (tro) (Entered:
            07/09/2020)




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       34   LETTER addressed to The Clerk of the Court from Jordan A. Goldstein dated 7/2/2020 re: Counsel for Plaintiff write this letter                  07/08/2020
            pursuant to F.R.C.P. 5(b)(2)(D), with regard to Defendant Roger Wang , and serve upon the Clerk of Court the following papers: the
            Letter Motion for Conference regarding Plaintiffs' Anticipated Motion to Join and to File the Proposed Amended Complaint, Exhibit 1
            thereto (Proposed Amended Complaint), and Exhibit 2 thereto (redline). Document filed by Eric Lee, Chase Williams.(tro) (Entered:
            07/09/2020)

       35   NOTICE OF APPEARANCE by James P. Rouhandeh on behalf of Binance, Yi He, Roger Wang, Changpeng Zhao .. (Rouhandeh ,                              08/24/2020
            James) (Entered: 08/24/2020)

       36   NOTICE OF APPEARANCE by Daniel Jacob Schwartz on behalf of Binance, Yi He, Roger Wang, Changpeng Zhao ..(Schwartz,                              08/24/2020
            Daniel) (Entered: 08/24/2020)

       37   NOTICE OF APPEARANCE by Maurice Nicholas Sage on behalf of Binance, Yi He, Roger Wang , Changpeng Zhao .. (Sage,                                08/24/2020
            Maurice) (Entered: 08124/2020)

       38   RULE 7. 1 CORPORATE DISCLOSURE STATEMENT. No Corporate Parent Document filed by Binance .. (Rouhandeh, James)                                   08/24/2020
            (Entered: 08/24/2020)

       39   PROPOSED STIPULATION AND ORDER. Document filed by Eric Lee, Chase Williams .. (Goldstein, Jordan) (Entered: 08/24/2020)                         08/24/2020

       40   ORDER APPOINTING LEAD PLAINTIFFS AND APPROVING SELECTION OF CO-LEAD COUNSEL granting 23 Motion for                                              08/26/2020
            Appointment as Lead Plaintiff and Approval of Selection of Co-Lead Counsel. IT IS HEREBY ORDERED THAT: 1. JD Anderson,
            Corey Hardin, Eric Lee, Brett Messieh, David Muhammad, Ranjith Thiagarajan, Chase Williams, and Token Fund I LLC are
            appointed Lead Plaintiffs in the above- captioned action. 2. The Court designates the law firms Roche Cyrulnik Freedman LLP and
            Selendy & Gay PLLC as Co-Lead Counsel in this action. 3. Co-Lead Counsel shall be generally responsible for coordinating
            activities during pretrial proceedings and shall: a. Determine and present (in briefs, oral argument, or other fashion as may be
            appropriate, personally or by a designee) to the Court and opposing parties the position of Lead Plaintiffs and the proposed class on
            all matters arising during pretrial proceedings; b. Coordinate the conduct of discovery on behalf of Lead Plaintiffs and the proposed
            class consistent with the requirements of Rule 26 of the Federal Rule of Civil Procedure, including preparation of interrogatories and
            requests for production of documents and the examination of witnesses in depositions; c . Conduct settlement negotiations on behalf
            of Lead Plaintiffs and the proposed class; d. Enter into stipulations with opposing counsel as necessary for the conduct of the
            litigation; e. Prepare the case for and conduct trial; and f. Perform such other duties as may be incidental to the proper coordination
            of pretrial and tria l activities or authorized by future order of the Court 4. All securities class actions raising similar claims
            subsequently filed in or transferred lo the United Stales District Court for the Southern District of New York shall be consolidated into
            this action, and this Order shall apply to every such action, absent any further order of the Court. (Signed by Judge Andrew L.
            Carter, Jr on 8/2612020) (rj) (Entered: 08/26/2020)

       41   JOINT STIPULATION AND ORDER REGARDING SERVICE OF PROCESS AND SCHEDULE: IT IS ACCORDINGLY                                                        08/26/2020
            STIPULATED, by and between the undersigned counsel for the Parties, subject to the Court's approval, as follows: The undersigned
            counsel for Defendants hereby waives service on behalf of all Defendants; provided, however, that the acceptance of service and
            entry into this Stipulation shall not waive, and Defendants expressly preserve, all rights, claims, and defenses, including, but not
            limited to, all defenses relating to jurisdiction and venue, except a defense as to the sufficiency of service of the summons and
            complaint and the form of the summons; Defendants shall have no obligation to answer, move against, or otherwise respond to the
            Initial Complaint or the Proposed Amended Complaint unless otherwise ordered by the Court Plaintiffs shall file an amended class
            action complaint (the •Amended Class Action Complaint") within 60 days after the entry of the Court's order appointing lead plaintiffs
            and approving lead counsel. Defendants shall answer, move against, or otherwise respond to the Amended Class Action Complaint
            within 60 days after Plaintiffs file the Amended Class Action Complaint. If Defendants move to dismiss the Amended Class Action
            Complaint, Plaintiffs shall file any opposition to the motion to dismiss within 45 days after the filing of the motion, and Defendants
            sha II file any reply within 30 days after the filing of the opposition to the motion lo dismiss. SO ORDERED. (Signed by Judge
            Andrew L. Carter, Jr on 8/26/2020) (ama) (Entered: 08/26/2020)

       42   FILING ERROR - PDF ERROR - AMENDED COMPLAINT amending 1 Complaint against Binance , Yi He, Roger Wang, Changpeng                                09/10/2020
            Zhao with JURY DEMAND.Document filed by David Muhammad, Brett Messieh, Token Fund I LLC, Corey Hardin, Ranjith
            Thiagarajan, JD Anderson , Eric Lee. Related document 1 Complaint (Attachments: # 1 Exhibit A - Anderson , JD Certification, # 2
            Exhibit B - Hardin, Corey Certification, # 3 Exhibit C - Lee, Eric Certification, # 4 Exhibit D - Messieh, Brett Certification, # 5 Exhibit E
            - Muhammad, David Certification, # 6 Exhibit F - Thiagarajan, Ranjith Certification, # 7 Exhibit G - Williams, Chase Certification, # 8
            Exhibit H - Token Fund I LLC Certification).(Selendy, Philippe) Modified on 9/11/2020 (pne). (Entered: 09/10/2020)

            . ...NOTICE TO ATTORNEY REGARDING DEFICIENT PLEADING. Notice to Attorney Philippe Zuard Selendy to RE-FILE                                      09/11/2020
            Document No. 42 Amended Complaint,. The filing is deficient for the following reason(s): the PDF attached to the docket entry for
            the pleading is not correct; remove the word 'PROPOSED' from the PDF. Re-file the pleading using the event type Amended
            Complaint found under the event list Complaints and Other Initialing Documents- attach the corrected PDF - select the individually
            named filer/filers - select the individually named party/parties the pleading is against. (pne) (Entered: 09/11/2020)

       43   AMENDED COMPLAINT amending 1 Complaint against Binance, Yi He, Roger Wang with JURY DEMAND.Document filed by                                    09/11/2020
            David Muhammad, Brett Messieh, Token Fund I LLC, Corey Hardin, Ranjith Thiagarajan, JD Anderson , Eric Lee. Related document:
            1 Complaint (Attachments: # 1 A - Anderson, JD Certification, # 2 Exhibit B - Harden, Corey Certification, # 3 Exhibit C - Lee, Eric
            Certification, # 4 Exhibit D - Messieh, Brett Certifcation, # 5 Exhibit E - Muhammed, David Certification, # 6 Exhibit F - Thiagaranjan,
            Raleigh Certification,# 7 Exhibit G - Williams, Chase Certification,# 8 Exhibit H - Token Fund I LLC Certificalion).(Selendy, Philippe)
            (Entered: 09/11/2020)



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       44   LETTER MOTION for Conference re : Plaintiffs' anticipated motion to coordinate addressed to Judge Andrew L. Carter, Jr. from                 09/16/2020
            Jordan A Goldstein and Kyle W. Roche dated September 16, 2020. Document filed by JD Anderson, Corey Hardin, Eric Lee, Brett
            Messieh, David Muhammad, Ranjith Thiagarajan, Token Fund I LLC .. (Goldstein, Jordan) (Entered: 09/16/2020)

       45   LETTER addressed to Judge Andrew L. Carter, Jr. from Daniel L. Berger dated September 17, 2020 re: Plaintiffs' Sept. 16, 2020                09/1712020
            Letter. Document filed by Crypto Assets Opportunity Fund LLC .. (Berger, Daniel) (Entered: 09/17/2020)

       46   LETTER addressed to Judge Andrew L. Carter, Jr. from James P. Rouhandeh dated September 21 , 2020 re: Plaintiffs' request for a              09/21/2020
            pre-motion conference. Document filed by Binance .. (Rouhandeh, James) (Entered: 09/21/2020)

       47   LETTER addressed to Judge Andrew L. Carter, Jr. from Jordan Goldstein and Kyle Roche dated September 22, 2020 re: in                         09/22/2020
            response to letters that have been submitted by counsel. Document filed by JD Anderson, Corey Hardin, Eric Lee, Brett Messieh,
            David Muhammad, Ranjith Thiagarajan, Token Fund I LLC.. (Goldstein, Jordan) (Entered: 09/22/2020)

       48   LETTER addressed to Judge Andrew L. Carter, Jr. from James P. Rouhandeh dated September 25, 2020 re: Apprising the Court of                  09/25/2020
            a Subsequent Development that is Related to Defendants' Response [Dkl No. 46] to Plaintiffs' Request for a Pre-Motion
            Conference Regarding their Anticipated Motion to Coordinate the ICO Cases.. Document filed by Binance , Yi He, Roger Wang ,
            Changpeng Zhao. (Attachments: # 1 Exhibit A- PLS Memo Endorsement of Oki 30 Letter, # 2 Exhibit B- PLS Memo Endorsement of
            Dkt 52 Letter).(Rouhandeh, James) (Entered: 09/25/2020)

       49   ORDER denying 44 Letter Motion for Conference. Plaintiffs' Motion for Coordination is hereby Denied. So Ordered. (Signed by                  10/05/2020
            Judge Andrew L. Carter, Jr on 10/5/2020) Os) (Entered: 10/06/2020)

       50   LETTER MOTION for Conference Regarding Defendants' Anticipated Motion to Dismiss the Amended Class Action Complaint                          11/10/2020
            addressed to Judge Andrew L. Carter, Jr. from James P. Rouhandeh dated November 10, 2020. Document filed by Binance, Yi He,
            Roger Wang , Changpeng Zhao.. (Rouhandeh, James) (Entered: 11/10/2020)

       51   LETTER addressed to Judge Andrew L. Carter, Jr. from Jordan A. Goldstein and Kyle W. Roche dated November 16, 2020 re:                       11/16/2020
            Defendants' November 10, 2020 letter. Document filed by JD Anderson , Corey Hardin, Eric Lee, Brett Messieh, David Muhammad,
            Ranjith Thiagarajan, Token Fund I LLC, Chase Williams. (Attachments: # 1 Exhibit 1 - Article by Michael del Castillo, Forbes, Leaked
            'Tai Chi' Document Reveals Binance's Elaborate Scheme To Evade Bitcoin Regulators (Oct. 29, 2020)).(Goldstein, Jordan)
            (Entered: 11/16/2020)

       52   ORDER terminating 50 Motion for Conference. The Court is in receipt of the parties' pre-motion confere nee letters. ECF Nos. 50-51 .         12/08/2020
            Upon review of the submissions, the Court denies Defendants' requests for a pre-motion conference. The Court hereby grants
            Plaintiffs leave to amend their complaint and Defendants leave to file a motion to dismiss the amended complaint. The parties are
            hereby ORDERED to submit a joint status report with a proposed schedule for amending the complaint and briefing the motion to
            dismiss by December 15, 2020. The Clerk of Court is directed to terminate ECF No. 50. SO ORDERED .. (Signed by Judge Andrew
            L. Carter, Jr on 12/8/2020) (ks) (Entered: 12/08/2020)

       53   PROPOSED STIPULATION AND ORDER. Document filed by JD Anderson , Corey Hardin, Eric Lee, Brett Messieh, David                                 12/14/2020
            Muhammad, Ranj ith Thiagarajan, Token Fund I LLC, Chase Williams .. (Goldstein, Jordan) (Entered: 12/14/2020)

       54   JOINT STIPULATION AND ORDER: IT IS ACCORDINGLY HEREBY STIPULATED AND AGREED, by and between the                                              12/15/2020
            undersigned counsel for the Parties, subject to the Courts approval, as follows: All prior deadlines related to Defendants response to
            the ACAC are vacated. Plaintiffs shall file the SACAC within fourteen (14) days after the date on which the Court so-orders this
            proposed schedule. Defendants shall answer, move against, or otherwise respond to the SACAC sixty(60) days after the date on
            which Plaintiffs file the SACAC. Plaintiffs shall oppose any motion to dismiss sixty (60) days after the date on which Defendants file
            such motion. Defendants shall file any reply in further support of any motion to dismiss forty- five (45) days after Plaintiffs file their
            opposition . For the avoidance of doubt, Defendants shall not be required to file an additional pre-motion letter pursuant to Rule 2.A
            of the Courts Individual Practices prior to filing any motion to dismiss contemplated by this stipulation. Any deadline contemplated by
            this stipulation that falls on a weekend or federal holiday shall be extended to the next business day. So Ordered. (Signed by Judge
            Andrew L. Carter, Jr on 12/15/2020) Os) (Entered: 12/15/2020)

       55   SECOND AMENDED COMPLAINT amending 43 Amended Complaint,, against Binance, Yi He, Roger Wang , Changpeng Zhao with                            12/15/2020
            JURY DEMAND.Document filed by David Muhammad, Brett Messieh, Token Fund I LLC, Ranj ith Thiagarajan, JD Anderson, Eric
            Lee. Related document: 43 Amended Complaint,, .. (Selendy, Philippe) (Entered: 12/15/2020)

       56   PROPOSED STIPULATION AND ORDER. Document filed by Binance, Yi He, Roger Wang , Changpeng Zhao .. (Rouhandeh, James)                          02/10/2021
            (Entered: 02/10/2021)




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       57   STIPULATION AND ORDER REGARDING MOTION TO DISMISS BRIEFING: NOW THEREFORE IT IS HEREBY STIPULATED                                      02/11/2021
            AND AGREED , by and between the Parties, through their undersigned counsel, subject to the Court's approval, as follows: The
            page limit for defendants' memorandum of law in support of any motion to dismiss the SACAC shall be 35 pages. For the avoidance
            of doubt defendants shall file a single memorandum of law on behalf of all defendants. The page limit for plaintiffs' memorandum of
            law in opposition to any motion to dismiss the SACAC shall be 35 pages. For the avoidance of doubt plaintiffs shall file a single
            memorandum of law on behalf of all plaintiffs. The page limit for defendants' reply memorandum of law in further support of any
            motion to dismiss the SACAC (the "Reply Memorandum") shall be 14 pages. For the avoidance of doubt defendants shall file a
            single reply memorandum of law on behalf of all defendants. Defendants reserve the right to seek from the Court a further
            enlargement of the page limit for the Reply Memorandum, and plaintiffs reserve the right to oppose any such request This
            stipulation may be executed in counterparts, and copies thereof furnished by facsimile or in electronic format shall be deemed
            originals for all purposes. (Signed by Judge Andrew L. Carter, Jr on 2/11/2021) Us) (Entered: 02/11/2021)

       58   MOTION to Dismiss Plaintiffs' Second Amended Class Action Complaint and/or Compel Arbitration. Document filed by Binance, Yi           02/16/2021
            He, Roger Wang, Changpeng Zhao .. (Rouhandeh, James) (Entered: 02/16/2021)

       59   MEMORANDUM OF LAW in Support re: 58 MOTION to Dismiss Plaintiffs' Second Amended Class Action Complaint and/or Compel                  02/16/2021
            Arbitration . . Document filed by Binance, Yi He, Roger Wang, Changpeng Zhao .. (Rouhandeh, James) (Entered: 02/16/2021)

       60   DECLARATION of James P. Rouhandeh in Support re: 58 MOTION to Dismiss Plaintiffs' Second Amended Class Action Complaint                02/16/2021
            and/or Compel Arbitration.. Document filed by Binance, Yi He, Roger Wang, Changpeng Zhao. (Attachments: # 1 Exhibit 1. Binance
            Terms of Use, last revised February 20, 2019, # 2 Exhibit 2. Binance's FAQ webpage, # 3 Exhibit 3. Table of dates of plaintiffs'
            purchases,# 4 Exhibit 4. SEC website entitled "National Securities Exchanges",# 5 Exhibit 5. SEC website entitled "Company
            Information About Active Broker-Dealers", # 6 Exhibit 6. Publication of SEC Strategic Hub for Innovation and Financial Technology,
            dated April 3, 2019, # 7 Exhibit 7. SEC Exchange Act Release No. 81207, dated July 25, 2017, # 8 Exhibit 8. Statement of SEC
            Divisions of Enforcement and Trading Markets, dated March 7, 2018, # 9 Exhibit 9. CNBC article dated June 6, 2018, # 1O Exhibit
            10. Remarks of William Hinman, SEC Director of Corporate Finance, # 11 Exhibit 11 . Binance Terms of Use, last revised July 6,
            2017 , # 12 Exhibit 12. Binance Terms of Use, last revised January 13, 2021, # 13 Exhibit 13. Table of blue sky law statutory
            sections).(Rouhandeh, James) (Entered: 02/16/2021)

       61   LETTER addressed to Judge Andrew L. Carter, Jr. from James P. Rouhandeh dated February 24, 2021 re: Supplemental Authority             02/24/2021
            that supports Defendants' pending Motion to Dismiss Plaintiffs' Second Amended Class Action Complaint and/or to Compel
            Arbitration. Document filed by Binance, Yi He, Roger Wang, Changpeng Zhao. (Attachments:# 1 Exhibit A- Supplemental
            Authority).(Rouhandeh, James) (Entered : 02/24/2021)

       62   PROPOSED STIPULATION AND ORDER. Document filed by JD Anderson , Corey Hardin, Eric Lee, Brett Messieh, David                           04/05/2021
            Muhammad, Ranjith Thiagarajan , Token Fund I LLC, Chase Williams .. (Goldstein, Jordan) (Entered: 04/05/2021)

       63   STIPULATION AND ORDER REGARDING VOLUNTARY DISMISSAL OF DEFENDANTS HE AND WANG: IT IS HEREBY                                            04/06/2021
            STIPULATED AND AGREED , by and between the Parties, through their undersigned counsel, that all of claims alleged against
            Defendants He and Wang in the above-captioned action are voluntarily dismissed pursuant to Federal Rule of Civil Procedure 4 l(a)
            (l)(A)(ii). IT IS FURTHER STIPULATED AND AGREED , by and between the Parties, through their undersigned counsel, that the
            briefing schedule regarding Defendants' motion to dismiss (ECF No. 57) shall remain in full force and effect IT IS FURTHER
            STIPULATED AND AGREED , by and between the Parties, through their undersigned counsel, that the claims against Defendants
            Binance and Changpeng Zhao shall not be affected by this Stipulation and Proposed Order. SO ORDERED. Yi He and Roger Wang
            terminated. (Signed by Judge Andrew L. Carter, Jr on 4/6/2021) (kv) (Entered: 04/06/2021)

       64   MEMORANDUM OF LAW in Opposition re: 58 MOTION to Dismiss Plaintiffs' Second Amended Class Action Complaint and/or                      04/19/2021
            Compel Arbitration . . Document filed by JD Anderson, Corey Hardin, Eric Lee, Brett Messieh, David Muhammad, Ranjith
            Thiagarajan, Token Fund I LLC, Chase Williams .. (Goldstein, Jordan) (Entered: 04/19/2021)

       65   DECLARATION of Kyle W. Roche in Opposition re: 58 MOTION to Dismiss Plaintiffs' Second Amended Class Action Complaint                  04/19/2021
            and/or Compel Arbitration .. Document filed by JD Anderson , Corey Hardin, Eric Lee, Brett Messieh, David Muhammad, Ranjith
            Thiagarajan, Token Fund I LLC, Chase Williams. (Attachments: # 1 Exhibit 1 - Binance Registration Page Screen Shot, # 2 Exhibit 2
            - 2018.02.28 Forbes Article,# 3 Exhibit 3 - 2019.03.07 Twitter Screenshot, # 4 Exhibit 4 - 2021 .0129 Twitter Screenshot # 5 Exhibit
            5 - 2021 .01 .29 Twitter Screenshot, # 6 Exhibit 6 - 2019.05.27 Twitter Screenshot).(Goldstein, Jordan) (Entered: 04/19/2021)

       66   REPLY MEMORANDUM OF LAW in Support re: 58 MOTION to Dismiss Plaintiffs' Second Amended Class Action Complaint and/or                   06/03/2021
            Compel Arbitration .. Document filed by Binance, Changpeng Zhao .. (Rouhandeh, James) (Entered: 06/03/2021)

       67   DECLARATION of James P. Rouhandeh in Support re: 58 MOTION lo Dismiss Plaintiffs' Second Amended Class Action Complaint                06/03/2021
            and/or Compel Arbitration .. Document filed by Binance, Changpeng Zhao. (Attachments:# 1 Exhibit 1- Declaration of Corey Hardin,
            # 2 Exhibit 2- Declaration of David Muhammad, # 3 Exhibit 3- Declaration of Chase Williams,# 4 Exhibit 4- Slates with Blue Sky
            Law Limitations Periods of 1 or 2 Years).(Rouhandeh, James) (Entered: 06/03/2021)

       68   LETTER MOTION for Oral Argument on Motion to Dismiss Plaintiffs' Second Amended Class Action Complaint and/or Compel                   06/04/2021
            Arbitration addressed to Judge Andrew L. Carter, Jr. from James P. Rouhandeh dated June 4, 2021 . Document filed by Binance,
            Changpeng Zhao .. (Rouhandeh, James) (Entered: 06/04/2021)

       69   LETTER MOTION for Oral Argument addressed to Judge Andrew L. Carter, Jr. from Kyle W. Roche and Jordan A. Goldstein dated              06/07/2021
            June 7, 2021 . Document filed by JD Anderson , Corey Hardin, Eric Lee, Brett Messieh, David Muhammad, Ranjith Thiagarajan,
            Token Fund I LLC, Chase Williams .. (Goldslein, Jordan) (Entered: 06/07/2021)


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       70   LETTER addressed to Judge Andrew L. Carter, Jr. from James P. Rouhandeh dated June 25, 2021 re: Supplemental Authority                06/25/2021
            supporting Defendants' pending Motion to Dismiss Plaintiff's Second Amended Class Action Complaint. Document filed by Binance,
            Changpeng Zhao. (Attachments:# 1 Exhibit A- Supplemental Authority).(Rouhandeh, James) (Entered: 06/25/2021)

       71   LETTER addressed to Judge Andrew L. Carter, Jr. from Jordan A. Goldstein and Kyle W. Roche dated June 27, 2021 re: In                 06/27/2021
            Response to Defendants' June 25, 2021 Letter re Supplemental Authority. Document filed by JD Anderson , Corey Hardin, Eric Lee,
            Brett Messieh, David Muhammad, Ranjith Thiagarajan, Token Fund I LLC, Chase Williams .. (Goldstein, Jordan) (Entered:
            06/27/2021)

       72   LETTER addressed to Judge Andrew L. Carter, Jr. from M. Nick Sage dated October 22, 2021 re: Withdrawal of M. Nick Sage as            10/22/2021
            Counsel for Defendants Binance and Changpeng Zhao. Document filed by Binance, Changpeng Zhao.. (Sage, Maurice) (Entered:
            10/22/2021)

       73   MEMO ENDORSEMENT on re: 72 Letter filed by Binance, Changpeng Zhao. ENDORSEMENT: SO ORDERED. Attorney Maurice                         10/22/2021
            Nicholas Sage terminated. (Signed by Judge Andrew L. Carter, Jr on 10/22/2021) (ate) (Entered: 10/22/2021)

       74   LETTER addressed to Judge Andrew L. Carter, Jr. from Jordan A. Goldstein and Kyle W. Roche dated December 13, 2021 re:                12/13/2021
            Notice of Supplemental Authority. Document filed by JD Anderson , Corey Hardin, Eric Lee, Brett Messieh, David Muhammad,
            Ranjith Thiagarajan, Token Fund I LLC, Chase Williams. (Attachments:# 1 Exhibit A- Supplemental Authority).(Goldstein, Jordan)
            (Entered: 12/13/2021)

       75   LETTER addressed to Judge Andrew L. Carter, Jr. from James P. Rouhandeh dated December 17, 2021 re: Response to Plaintiffs'           12/17/2021
            Notice of Supplemental Authority. Document filed by Binance, Changpeng Zhao .. (Rouhandeh, James) (Entered: 12/17/2021 )

       76   NOTICE OF CHANGE OF ADDRESS by Jordan Ari Goldstein on behalf of JD Anderson , Corey Hardin, Eric Lee, Brett Messieh,                 02/15/2022
            David Muhammad, Ranjith Thiagarajan, Token Fund I LLC, Chase Williams. New Address: Selendy Gay Elsberg PLLC, .. (Goldstein,
            Jordan) (Entered: 02/15/2022)

       n    OPINION AND ORDER re: 58 MOTION to Dismiss Plaintiffs' Second Amended Class Action Complaint and/or Compel Arbitration.               03/31/2022
            filed by Roger Wang, Binance, Changpeng Zhao, Yi He, 69 LETTER MOTi ON for Oral Argument addressed to Judge Andrew L.
            Carter, Jr. from Kyle W. Roche and Jordan A. Goldstein dated June 7, 2021 . filed by Brett Messieh, Eric Lee, David Muhammad,
            Chase Williams, Token Fund I LLC, Corey Hardin, JD Anderson, Ranjith Thiagarajan, 68 LETTER MOTION for Oral Argument on
            Motion to Dismiss Plaintiffs' Second Amended Class Action Complaint and/or Compel Arbitration addressed to Judge Andrew L.
            Carter, Jr. from James P. Rouhandeh dated June 4, 2021 . filed by Binance, Changpeng Zhao. For the reasons above, Defendants'
            motion to dismiss is GRANTED and the Second Amended Complaint is DISMISSED. The parties requests for oral argument are
            DENIED. The Clerk of Court is respectfully directed to terminate the motions at ECF Nos. 58, 68, 69. SO ORDERED. (Signed by
            Judge Andrew L. Carter, Jr on 3/31/2022) Gca) (Entered: 03/31/2022)

            Transmission to Orders and Judgments Clerk. Transmitted re: 77 Memorandum & Opinion to the Orders and Judgments Clerk. Gca)           03/31/2022
            (Entered: 04/01/2022)

       78   CLERK'S JUDGMENT re: 77 Memorandum & Opinion in favor of Binance, Changpeng Zhao against Token Fund I LLC, Brett                      03/31/2022
            Messieh, Chase Williams, Corey Hardin, David Muhammad, Eric Lee, JD Anderson, Ranjith Thiagarajan. It is hereby ORDERED,
            ADJUDGED AND DECREED: That for the reasons stated in the Court's Opinion and Order dated March 31 , 2022, Defendants'
            motion lo dismiss is GRANTED and the Second Amended Complaint is DISMISSED. (Signed by Clerk of Court Ruby Krajick on
            3/31/2022) (Attachments : # 1 Right to Appeal) (km) (Entered : 04/04/2022)

       79   NOTICE OF APPEAL from 77 Memorandum & Opinion,,,, 78 Clerk's Judgment,,. Document filed by JD Anderson , Corey Hardin,                04/29/2022
            Eric Lee, Brett Messieh , David Muhammad, Ranjith Thiagarajan, Token Fund I LLC, Chase Williams. Filing fee$ 505.00, receipt
            number ANYSDC-26079404. Form C and Form Dare due within 14 days to the Court of Appeals, Second Circuit .. (Goldstein,
            Jordan) Modified on 4/29/2022 (nd). (Entered: 04/29/2022)

            Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of Appeals re: 79 Notice of Appeal, .. (nd)           04/29/2022
            (Entered: 04/29/2022)

            Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal Electronic Files for 79 Notice of Appeal, filed by   04/29/2022
            Brett Messieh, Eric Lee, David Muhammad, Chase Williams, Token Fund I LLC, Corey Hardin, JD Anderson, Ranjith Thiagaraj an
            were transmitted to the U.S. Court of Appeals .. (nd) (Entered: 04/29/2022)




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SOUTHERN DISTRICT OF NEW YORK
 JD ANDERSON ET AL.,

                                    Plaintiffs,
                                                                     1:20-cv-2803 (ALC)
                        -against-                                    OPINION & ORDER

 BJNAN CE ET AL.,
                                    Defendants.

ANDREW L. CARTER, JR., United States District Judge:

        Before the Court is Defendants' motion to dismiss Plaintiffs' putative class action. ECF

No. 58 . For the reasons that follow, Defendants' motion to dismiss is granted.

                                             BACKGROUND

        The following facts are taken from allegations contained in Plaintiffs' Second Amended

Class Action Complaint ("SAC") and are presumed to be true for purposes of resolving

Defendants' motion to dismiss. See Kassner v. 2nd Ave. Delicatessen Inc., 496 F.3d 229,                237 (2d
Cir. 2007).

        Plaintiffs are investors who bought certain digital tokens- EOS, QSP, KNC, TRX, FUN,

ICX, OMG, LEND, and ELF-on Defendant Binance, a digital exchange. 1 Digital tokens may

operate as ''utility tokens," which permit the holder of the token to participate in projects associated

with the token, or as "security tokens," which function similarly to a traditional security and are

classified as securities under federal and state law. Accordingly, issuers of security tokens must

file registration statements with the U.S. Securities and Exchange Commission ("SEC") and a

platform where security tokens are traded must register with the SEC as an exchange.




1 Binance's headquarters are located in Malta. Defendant Changpeng Zhao is the Chief Executive Officer ofBinance

and resides in Taiwan.

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       Plaintiffs allege that, beginning on July 1, 2017, Defendants promoted, offered, and sold

in the United States the above-referenced digital tokens through Binance. Issuers would sell tokens

to investors in an initial coin offering ("ICO"), listing the token on Binance. Binance would then

promote the sale of the tokens. Issuers compensated Binance for listing their tokens and Binance

received a percentage of each trade.

       According to Plaintiffs, Binance's representations did not make clear to investors upon

purchase that the tokens were securities. Investors were only apprised of the tokens ' status as

secmities on April 3, 2019, when the SEC issued a rep01t, "The Framework for 'Investment

Contract' Analysis of Digital Assets" ("Framework"), which categorized the tokens as securities

under Section 2 of the Securities Act of 1933 ("Secmities Act") and Section 3 of the Secmities

Exchange Act of 1934 ("Exchange Act").

                                   PROCEDURAL IDSTORY

       Plaintiffs initiated this Action on April 3, 2020. ECF No. 1. On August 26, 2020, the Comt

appointed lead plaintiffs and designated co-lead counsel. ECF No. 40. On September 11, 2020,

Plaintiffs filed an Amended Class Action Complaint. ECF No. 43. On December 15, 2020,

Plaintiffs filed a Second Amended Class Action Complaint. ECF No. 55. The complaint contains

327 pages and includes 154 causes of action, five of which allege violations of federal laws.

Plaintiffs allege that, in violation of the Secmities Act, the Exchange Act and state Blue Sky

protections, Defendants did not register Binance as an exchange or a broker dealer and Binance

did not file a registration statement for the securities it sold. Thus, investors were not afforded the

protections of securities laws and were not made aware of the risks of their investments.

       On Febrna1y 16, 2021, Defendants filed the instant motion to dismiss. ECF No. 58. After

Defendants filed their motion to dismiss, Plaintiffs voluntarily dismissed individual defendants



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Yi He and Roger Wang. ECF No. 63. Plaintiffs filed their opposition on April 19, 2021. ECF No.

64. In their opposition, Plaintiffs abandoned their claims related to the BNT, CVC, and SNT

tokens. Id. at 3 n .3. On June 3, 2021 , Defendants filed their reply in support of their motion to

dismiss. ECF No. 66.

                                      STANDARD OF REVIEW

        When resolving a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a comt

should "draw all reasonable inferences in [the plaintiff's] favor, assume all well-pleaded factual

allegations to be t:J.ue, and dete1mine whether they plausibly give rise to an entitlement to relief."

Faber v. Metro. Life Ins. Co., 648 F.3d 98, 104 (2d Cir. 2011) (internal quotation marks and

citations omitted). Thus, "[t]o survive a motion to dismiss [under Rule 12(b)(6)], a complaint must

contain sufficient factual matter, accepted as t:J.ue, to ' state a claim to relief that is plausible on its

face. " ' Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007)). However, the comt need not credit "[t]hreadbare recitals of the elements of a

cause of action, suppmted by mere conclusory statements." Ashcroft, 556 U.S. at 678 (citing

Twombly, 550 U.S. at 555). The Comt's function on a motion to dismiss is "not to weigh the

evidence that might be presented at a tiial but merely to dete1mine whether the complaint itself is

legally sufficient." Goldman v. Belden, 754 F.2d 1059, 1067 (2d Cir. 1985). Additionally,

"[a]lthough the statute of limitations is ordinarily an affirmative defense that must be raised in the

answer, a statute of limitations defense may be decided on a Rule 12(b)(6) motion if the defense

appears on the face of the complaint." Thea v. Kleinhandler, 807 F.3d 492, 501 (2d Cir. 2015)

(internal quotation marks and citations omitted).




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                                           DISCUSSION

       Plaintiffs bring federal claims against Defendants pursuant to Section 12(a)(l) of the

Securities Act and Section 29(b) of the Exchange Act. Second Arn. Compl., ECF No. 55 ,r,r 362-

404; 15 U.S.C. §§ 77/(a)(l), 78cc. Plaintiffs also bring state Blue Sky claims under 28 U.S.C. §

1367(a) and 28 U.S.C. § 1332. As discussed below, Plaintiffs' claims are dismissed because the

relevant securities laws do not apply extratenitorially and because they are baned by the statute

of limitations.

       I.         Statute of Limitations

                  a. Securities Act Claims

       Claims brought under Section 12(a)(l) of the Secmities Act must be brought ''within one

year after the violation upon which it is based." 15 U.S.C. § 77m. The parties agree that seven of

the nine tokens at issue--QSP, KNC, FUN, ICX, OMG, LEND, and ELF- were last purchased in

2018, more than a year before this action was brought. Plaintiffs argue that the Comt should apply

the equitable doctJ.ines of injmy evading discove1y or the fraud-based discove1y rnle and

accordingly hold that the limitations period was not tJ.iggered until April 3, 2019, when the

Framework was published. Pis.' Br., ECF No. 64 at 19. Until the Framework was issued, Plaintiffs

argue, investors did not have the requisite information to detennine whether the tokens were

securities or whether Defendants' statements about the tokens' status were fraudulent. Id.

       Plaintiffs' arguments fail. As Plaintiff acknowledges, Section 12(a)(l) does not include a

statutmy discove1y rnle. Id. The Supreme Court has warned against adopting an "expansive

approach to the discove1y rnle," and applying an "[a]textual judicial supplementation [which] is

pruticularly inappropriate when, as here, Congress has shown that it knows how to adopt the

omitted language or provision." Rotkisk.e v. Klemm, 140 S. Ct. 355, 361 (2019). Section 12(a)(l)



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explicitly states that the limitations period tuns upon the occunence of the violation, not the

discove1y of the violation and " [i]t is not [the coruts '] role to second-guess Congress ' decision to

include a ' violation occurs' provision, rather than a discove1y provision." Id. Indeed Courts in this

District have dismissed as untimely similar claims brought by Plaintiffs ' counsel, rejecting the

plaintiffs ' argument for applying a discove1y mle. See In re Bibox Grp. Holdings Ltd. Sec. Litig. ,

534 F. Supp. 3d 326, 338- 39 (S.D.N.Y. 2021); see also Holsworth v. BProtocol Found., No. 20-

cv-2810 (AKH) 2021 WL 706549 at *3 (S.D.N.Y. Feb. 22, 2021).

         The claims related to the sales of the two tokens- EOS and TRX-which Plaintiffs allege

were bought within one year of initiating this case are also time barred. Under Section 12(a)(l),

Plaintiffs may only bring claims against a defendant who is a statuto1y seller, which is defined as

a defendant who "(l) passed title or other interest in a security to a buyer for value, or (2)

successfully solicit[ed] the purchase." In re Morgan Stanley Info. Fund Sec. Litig. 592 F.3d 347,

359 (2d Cir. 2010) (quoting Pinter v. Dahl, 486 U.S. 622 642, 647 (1988)). Plaintiffs contend that

Defendants are statnt01y sellers because they are "entities and individuals that solicited the sale of

securities." Pis. ' Br. at 2. 2 Defendants' latest act of solicitation with respect to these two tokens is

Binance's republication of investor rep01ts in November 2018 and February 2019, more than a

year before Plaintiffs initiated this Action. SAC ,r,r 100(d), (l). The statute of limitations runs for

one year "after the violation upon which it was based " and the violation alleged for the Section

12(a)(l) claim is solicitation, which occmTed earlier than one year of filing. 15 U.S.C. § 77(m)

Thus, the claims related to EOS and TRX are also untimely.

                  b. Exchange Act


2 Plaintiffs briefly argue as an alternative that Defendants are also statutory sellers because they passed title to
Plaintiffs; their opposition brief states that Binance users "must first transfer the desired crypto-assets to Binance' s
control by executing a transaction on the Ethereum blockchain." Pls.' Br. at IO (citing SAC ,r 58). However, the cited
paragraph does not suppo1i tllis assertion.

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        Section 29(b) has a one-year statute of limitations, however, unlike Section 12(A)(l), the

statute oflimitations has a discove1y rule by which the limitations periods only begins to nm within

one year after the "discove1y that (the] sale or purchase involves (a] violation." 15 U.S.C. § 78cc.

See also Alpha Cap. Anstalt v. Oxysure Sys., Inc., 216 F. Supp. 3d 403, 408 (S.D.N.Y. 2016)

("[The] one-year statute of limitations for any implied cause of action lmder Section 29(b) of the

Exchange Act. . . . rnns from the time when an individual could have, through the exercise of

reasonable diligence, discovered the fraud at issue." (internal quotation marks and citations

omitted)).

        Under Section 29(b),"[e]ve1y contract made in violation of any provision of this chapter"

and "every contract (including any contract for listing a secmity on an exchange) ... the

perfomiance of which involves the violation of, or the continuance of any relationship or practice

in violation of, any provision of this chapter ... shall be void." 15 U.S.C. § 78cc. Plaintiffs must

"show that (1) the contract involved a prohibited transaction, [and] (2) [the plaintiffs are] in

contractual privity with the defendant." Pompano-Windy City Partners, Ltd. v. Bear Stearns &

Co., Inc. , 794 F. Supp. 1265, 1288 (S.D.N.Y. 1992) (internal quotation marks and citations

omitted). Plaintiffs' Section 29(b) claims are based on allegations that Binance formed illegal

contracts and that those contracts were illegal due to Binance ' s operation as an umegistered

exchange. However, Plaintiffs do not allege that they were unaware the exchange was not

registered; in fact, the complaint alleges that Plaintiffs knew that Binance was umegistered. See,

e.g., SAC     ,r   330 ("It is well known that VPNs are necessa1y for U.S. purchasers to access

umegistered c1ypto-asset exchanges, like Binance."). Thus, the Section 29(b) claims are untimely

as Plaintiffs knew of the violation, that the exchange was not registered, earlier than one year prior

to filing.



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        Plaintiffs argue that they only could have discovered that the tokens were securities on

April 3, 2019, when the Framework was published. However, "[u]nder a discove1y rnle, the claim

accrues when the plaintiff learns of the critical facts that he has been hmt and who has inflicted

the injmy." In reBibox, 534 F.Supp.3d at 339 (quoting Rotella v. Wood, 528 U.S. 549, 556 (2000)).

The Framework did not reveal new facts, and therefore, it does not delay the accrnal of the Section

29(b) claims. As Judge Cote wrote:

        Here, the plaintiff does not allege that he only learned on April 3, 2019 of " critical
        facts" regarding [the tokens]. Rather, he claims that he did not learn of his potential
        legal rights under § [29 (b)] until the SEC released the Framework on April 3, 2019.
        Ignorance of legal rights does not delay the accrnal of a claim under a discove1y
        mle. In any event, the Framework is merely a non-binding agency interpretation of
        the longstanding [S.E.C. v. WJ Howey Co. , 328 U.S. 293 (1946)] test and did not
        create new rights.

Id. ; see also id. at 341 ("TI1e plaintiff did not learn of any 'c1itical facts' regarding his injmy

when the SEC issued the Framework on Ap1il 3, 2019 ... but rather learned only of the

SEC's nonbinding interpretation of Howey." ). The issuance of the Framework does not toll

the accrnal of Plaintiffs' claims.

        II.     Extraterritoriality

        The federal securities laws apply to those "transactions in secmities listed on domestic

exchanges, and domestic transactions in other securities." Morrison v. Nat 'l Aust!. Bank Ltd., 561

U.S. 247, 267 (2010) (discussing Exchange Act); see also id. at 268 ("The same focus on domestic

transactions is evident in the Secmities Act of 1933."); In re Smart Techs., Inc. S 'holder Litig.,

295 F.R.D. 50, 55-56 (S.D.N.Y. 2013) ("Morrison's prohibition on extratenitoriality applies to

Secmities Act claims."). An exchange is considered "domestic" if it registers as a "national

securities exchange." See Morrison, 561 U.S. at 266--67. An exchange need only register if a




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"facility of [the] exchange [is] within or subject to the jmisdiction of the United States." 15 U.S.C.

§ 78e. Binance does not meet these criteria.

       First, although Plaintiffs allege that much of Binance's .infrastructure is based in the U.S.,

they only identify as U.S.-based infrastmcture Amazon Web Se1vices computer se1vers, which

host Binance, and the Ethereum blockchain computers, which facilitate ce1tain transactions on

Binance. Such third-patty se1vers and third pa1ties' choices of location are insufficient to deem

Binance a national secmities exchange. See, e.g. , Sonterra Capital Master Fund v. Credit Suisse

Grp. AG, 277 F. Supp. 3d 521, 582 (S.D.N.Y. 2017) (stating in the RICO context that, ''being

routed through computer se1vers into New York .... do[es] not ... render plaintiffs' RICO claims

domestic in nature"); see also Holsworth , 2021 WL 706549, at *3. Plaintiffs provide no caselaw

to suppo1t the claim that Binance' s other alleged U.S. contacts-inclusion of English language on

the Binance website, several employees located in California, and job postings in the U.S.-are

sufficient to constitute a domestic exchange.

       Additionally, the transactions themselves, as alleged, cannot qualify as domestic. A

transaction is domestic if"irrevocable liability is inc1med or title passes within the United States."

Absolute Activist Value Master Fund Ltd. v. Ficeto, 677 F.3d 60, 66, 67 (2d Cir. 2012). Plaintiffs

must allege more than stating that Plaintiffs bought tokens while located in the U.S and that title

"passed in whole or in pa1t over se1vers located in California that host Binance' s website." SAC

,r,r 17, 19, 20, 22; see City ofPontiac Policemen 's & Firemen 's Ret. Sys. v. UBS AG, 752 F.3d 173,
187 (2d Cir. 2014) (trade not considered domestic on the basis that the purchaser "places a buy

order in the United States for the purchase of foreign securities on a foreign exchange").

       Plaintiffs' Blue Sky claims also fail for the same reason. Plaintiffs bring clain1s under the

Blue Sky laws of the following five jurisdictions where the named plaintiffs allegedly placed their



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                                                             Page30     of 10




trades over Binance: California, Florida, Nevada, Pue1to Rico, and Texas. 3 Although the Second

Amended Complaint asse1ts claims under the Blue Sky laws of 49 U.S. jurisdictions, Plaintiffs

allegedly made their trades only from those states listed above. Therefore claims asse1ied under

other states' Blue Sky statutes are dismissed as there is an insufficient nexus between the

allegations and those jurisdictions. See Fed. Haus. Fin. Agency for Fed. Nat'! Mortg. Ass 'n v.

Nomura Holding Am., Inc., 873 F.3d 85 , 156 (2d Cir. 2017) (Blue Sky laws "only

transactions occuning within the regulating States" (internal quotation marks and citations

omitted))- see also In re Bibox, 534 F. Supp. 3d at 334 ("Where as here, a nan1ed class action

plaintiff brings state law claims that may not be brought by the named plaintiff, but may be brought

by putative class members, comts typically address only the state law claims of the named plaintiff

at the motion to dismiss stage and do not address the standing and merits arguments with respect

to the additional state law claims . . . .").

        Second, the claims brought under California Flo1ida, Nevada Puerto Rico, and Texas are

also dismissed on account of the extratenitorial nature of the transactions at issue. Comts often

analyze Blue Sky laws in relation to their federal counterpaits. See, e.g. , Nat '! Credit Union Adm in.

Bd. v. Morgan Stanley & Co., No. 13-cv-6705 (DLC), 2014 WL 241739, at *12-13 (S.D.N.Y. Jai1.

22, 2014) (citing Texas cases holding that Texas comts look towai·d federal comt decisions when

interpreting the Texas Secmities Act because of the similaiities between Texas and federal

secmities laws); Rushing v. Wells Fargo Bank, NA . 752 F. Supp. 2d 1254 1260 (M.D. Fla. 2010)

(stating that "Florida comts look to [federal securities] laws when interpreting [Florida Blue Sky

laws]"); SDM Holdings, Inc. v. UBS Fin. Servs., Inc. of Puerto Rico, No. 12-cv-1663, 2016 WL

9461324, at *6 (D.P.R. Mar. 1, 2016) (noting that a Puerto Rico Blue Sky claim is "for all practical


3 The complaint also alleges that trades were placed from New York, however the Complaint does not bring any claims

under New York law.

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purposes a verbatim repetition of [an Exchange Act] claim" (internal quotations and citations

omitted)), report and recommendahon adopted sub nom. Roman v. UBS Fin. Servs. , Inc. ofPuerto

Rico, No. 12-cv-1663, 2016 WL 9460664 (D.P.R. Sept. 30, 2016); Konopasek v. Ten Assocs.,

LLC., No. 18-CV-00272, 2018 WL 6177249, at *5 (C.D. Cal. Oct. 22, 2018) (applying definitions

from federal securities law in dismissing California Blue Sky claims). Thus, as the federal claims

fail due to extraterritoriality, the state claims are also dismissed because the relevant laws do not

apply extraterritorially.

                                         CONCLUSION

       For the reasons above, Defendants' motion to dismiss is GRANTED and the Second

Amended Complaint is DISMISSED. The parties' requests for oral argument are DENIED. The

Clerk of Court is respectfully directed to terminate the motions at ECF Nos. 58, 68, 69.


SO ORDERED.

Dated: March 31, 2022
       New York, New York                                 ANDREW L. CARTER, JR.
                                                          United States District Judge
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           Exhibit D
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 NITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JD A DERSON ET AL.

                                Plaintiffs,
              -against-                                        20 CIVIL 280 (AL

                                                                 JUDGMENT
BINA      E T AL.,

                                Defendants.


         lt is h reby ORDERED ADJUDGED AND DECREED: That for the reasons

stated in the ourt's Opinion and Order dat d March I 2022 Defendants motion to dismiss i

GRANTED and the . . econd Amended Complaint is DISMI     ED.

Dated:    ew . ork,   e   Yor

         March 3 I 2022


                                                          RUBY J. KRAJJCK

                                                               Clerk of Court
                                                BY:

                                                               Deputy Clerk
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                              Lee v. Binance
                          No. 22-00972 (2d Cir.)

                               FORM C
                             ADDENDUM B


Issues to be Raised on Appeal

  1. Whether Plaintiffs’ claims arising under 15 U.S.C. § 77l(a)(1) of the
     Securities Act of 1933 (“Securities Act”) from purchases made
     within one year before filing suit are timely.

     Standard of review: Dismissals based on the timeliness of the
claims are treated as a dismissal for failure to state a claim pursuant to
Federal Rule of Civil Procedure 12(b)(6). See Staehr v. Hartford Fin.
Servs. Grp., Inc., 547 F.3d 406, 425 (2d Cir. 2008). The Second Circuit
reviews de novo such dismissals. Id. at 424.

  2. Whether Plaintiffs’ claims arising under 15 U.S.C. § 78cc(b) of the
     Securities Exchange Act of 1934 (“Exchange Act”) from purchases
     made within one year before filing suit are timely.

     Standard of review: Dismissals based on the timeliness of the
claims are treated as a dismissal for failure to state a claim pursuant to
Federal Rule of Civil Procedure 12(b)(6). See Staehr v. Hartford Fin.
Servs. Grp., Inc., 547 F.3d 406, 425 (2d Cir. 2008). The Second Circuit
reviews de novo such dismissals. Id. at 424.

  3. Whether Plaintiffs’ claims under state Blue Sky laws are timely.

     Standard of review: Dismissals based on the timeliness of the
claims are treated as a dismissal for failure to state a claim pursuant to
Federal Rule of Civil Procedure 12(b)(6). See Staehr v. Hartford Fin.
Servs. Grp., Inc., 547 F.3d 406, 425 (2d Cir.2008). The Second Circuit
reviews de novo such dismissals. Id. at 424.
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  4. Whether federal securities laws and state Blue Sky laws apply to
     purchases of unregistered securities from an unregistered exchange
     when Plaintiffs placed and executed their orders from within the
     United States.

      Standard of review: Dismissals based on the extraterritorial
applicability of a statute are treated as a dismissal pursuant to Federal
Rule of Civil Procedure 12(b)(6). See Morrison v. Nat’l Austl. Bank Ltd.,
561 U.S. 247, 254 (2010). The Second Circuit reviews de novo such
dismissals. E.g., Absolute Activist Value Master Fund Ltd. V. Ficeto, 677
F.3d 60, 65 (2d Cir. 2012).
